                  Case 1:23-mr-00592-BPB
AO 106A (08/18) Application                               Document
                            for a Warrant by Telephone or Other           1 Filed
                                                                Reliable Electronic   03/15/23
                                                                                    Means             Page 1 of 10


                                             UNITED STATES DISTRICT COURT
                                                                      for the
                                                               District of New Mexico

                    In the Matter of the Search of                       )
               (Briefly describe the property to be searched             )
                                                                         )
               or identify the person by name and address)
                                                                         )
                                                                             Case No.   23 MR 592
       5705 FAIRFAX DRIVE NW, ALBUQUERQUE,
                                                                         )
                     NM 87114                                            )
                                                                         )
                                                                         )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

 See Attachment A.
located in the District of New Jersey, there is now concealed (identify the person or describe the property to be seized):

 See Attachment B.

          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                 ; evidence of a crime;
                    contraband, fruits of crime, or other items illegally possessed;
                    property designed for use, intended for use, or used in committing a crime;
                 ; a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
          Code Section                                                            Offense Description
           18 § USC 3146                          Failure to appear
          The application is based on these facts:
           See attached Affidavit in Support of an Application for a Search Warrant, attached hereto and incorporated by
           reference herein.

          ; Continued on the attached sheet.
             Delayed notice of ______ days (give exact ending date if more than 30 days:____________
                                                                                     y _____________) is requested
                                                                                                           q       under 18 U.S.C.
          § 3103a, the basis of which is set forth on the attached sheet.

                                                                                                 Applicant’s signature
                                                                                          Robert
                                                                                          R b T  T. B
                                                                                                    Balint,
                                                                                                      li S  Special
                                                                                                                i lAAgent
                                                                                                 Printed name and title
Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
 submitted electronically and sworn telephonically           (specify reliable electronic means).


 Date: Mar 15, 2023
                                                                                               Judge’s signature
 City and state:       Albuquerque, New Mexico                           Honorable B. Paul Briones, US Magistrate Judge
                                                                                              Printed name and title
            Case 1:23-mr-00592-BPB Document 1 Filed 03/15/23 Page 2 of 10




                         IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO

 IN THE MATTER OF THE SEARCH OF                    Case No. ____________________
 5705 FAIRFAX DRIVE NW,
 ALBUQUERQUE, NM 87114                             Filed Under Seal

                             AFFIDAVIT IN SUPPORT OF
                      AN APPLICATION FOR A SEARCH WARRANT

       I, Robert T. Balint, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.       I make this affidavit in support of an application under Rule 41 of the Federal

Rules of Criminal Procedure for a search warrant to search the premises located at 5705 Fairfax

Drive NW, Albuquerque, NM 87114 (“Subject Premises”) for FBI fugitive WILLIE LEE

EDWARDS JR. aka WILLIE LEE EDWARDS aka WILLIE EDWARDS (“W. EDWARDS”).

More detailed descriptions and a photograph of the Subject Premises have been attached hereto.

       2.       I am a Special Agent (SA) of the Federal Bureau of Investigation (FBI) and am

currently assigned to the Albuquerque Division. I have been a Special Agent with the FBI since

December 2020 and my primary investigative responsibilities include complex financial crimes.

I have received training in complex financial crimes. Moreover, I am a federal law enforcement

officer who is engaged in enforcing criminal laws, including 18 U.S.C. § 875(c), and I am

authorized by the Attorney General to request a search warrant.

       3.       The facts in this affidavit come from my personal observations, my training and

experience, my review of documents, and information obtained from other agents and witnesses.

This affidavit is intended to show merely that there is probable cause for the requested warrant

and does not set forth all of my knowledge about this matter.
            Case 1:23-mr-00592-BPB Document 1 Filed 03/15/23 Page 3 of 10




       4.       Based on the facts set forth in this affidavit, there is probable cause to believe that

W. EDWARDS has violated 18 § USC 3146, Failure to appear. W. EDWARDS was scheduled

for trial on April 18, 2022 and failed to appear; he is the subject of an arrest warrant issued on

April 18, 2022. There is probable cause to believe that the person described in Attachment B,

believed to be located at the residence or in the vehicle described in Attachment A is W.

EDWARDS, who is a “person to be arrested” within the meaning of Federal Rule of Criminal

Procedure 41(c)(4). There is also probable cause to believe that the information described in

Attachment B constitutes evidence of the location of W. EDWARDS as well as evidence of the

crime of 18 U.S.C. § 3146, Failure to appear.

                                       PROBABLE CAUSE

                                             Background

       5.       The United States, including the FBI, is conducting a criminal investigation of W.

EDWARDS regarding possible violations of 18 § USC 3146, Failure to appear.

       6.       On April 18, 2022, the United States District Court for the District of New

Mexico issued an arrest warrant for W. EDWARDS in case number 19-CR-00593. The warrant

commands “[a]ny authorized law enforcement officer . . . to arrest and bring before a United

States Magistrate Judge without unnecessary delay, Willie Lee EDWARDS,” based on his

violation of an order of the Court. United States v. EDWARDS, Cr. No. 19-00593 (D.N.M. Apr.

18, 2022), Doc. 115 (sealed arrest warrant). As indicated above, W. EDWARDS was scheduled

to appear for trial at 1:00 pm on April 18, 2022. W. EDWARDS did not appear for trial. W.

EDWARDS’ defense attorney, Edward Bustamante, indicated that he had informed W.

EDWARDS of his obligation to appear at trial and that he had not heard from W. EDWARDS.

United States v. EDWARDS, Cr. No. 19-00593 (D.N.M. Apr. 18, 2022), Doc. 116 (minutes of
            Case 1:23-mr-00592-BPB Document 1 Filed 03/15/23 Page 4 of 10




jury selection/jury trial). There is no indication that “uncontrollable circumstances,” as that term

is used in 18 U.S.C. § 3146(c), prevented W. EDWARDS from appearing for trial.

       7.       On or about February 21, 2023, the US Bankruptcy Court in the District of New

Mexico received a filing. The cover sheet of the filing identifies the filer as Willie Lee Edwards

Jr, C/O 3167 San Mateo NE #272, Albuquerque, NM 87110. W. EDWARDS is known to law

enforcement as “Willie Lee Edwards Jr.”

       8.       The telephone number 505-321-0126 was listed as a contact number for W.

EDWARDS in the filing. The filing was signed and notarized by D.P. D.P. is listed in the New

Mexico notary search.

       9.       The above address corresponds to a UPS Store. The investigation had previously

identified the UPS Store at that address as a place where Edwards rented a post office (“P.O.”)

box.

       10.      On March 10, 2023, I interviewed UPS store employees D.P. and R.P. D.P. and

R.P. confirmed that W. EDWARDS continued to rent a P.O. box at the UPS Store and that D.P.

and R.P. had recently interacted with and provided customer service to W. EDWARDS.

       11.      D.P. recalled having notarized documents for W. EDWARDS at the UPS Store in

approximately December 2022 and approximately January 2023. D.P. was shown the filing and

confirmed that the notary stamp and signature on the filing belonged to D.P. D.P. reviewed

D.P.’s notary logbook and found there to be an entry referencing W. EDWARDS in December

2022. D.P. did not find an entry referencing W. EDWARDS in January 2023. D.P. believed that

D.P. did not make an entry referencing W. EDWARDS when D.P. notarized documents for W.

EDWARDS in January 2023 because D.P. had already made an entry referencing W.

EDWARDS in December 2022.
           Case 1:23-mr-00592-BPB Document 1 Filed 03/15/23 Page 5 of 10




       12.     R.P. recalled that W. EDWARDS called the UPS store on or about March 9,

2023. R.P. could tell the caller was W. EDWARDS because R.P. recognized W. EDWARDS’

voice (R.P. knew the customers who rented mailboxes at the UPS Store). W. EDWARDS asked

R.P. what time the UPS store closed. R.P. told W. EDWARDS that the UPS Store closed at six

o'clock.

       13.       At approximately 5:00pm- 5:20pm on March 9, 2023, R.P. was leaving the UPS

Store when R.P. saw W. EDWARDS coming into the UPS store. R.P. greeted W. EDWARDS.

       14.       I reviewed the recent call list on the UPS Store office telephone. I observed two

calls made from telephone number 505-321-0126 on approximately March 9, 2023 at

approximately 4:14pm and 4:15pm.

       15.     I reviewed UPS Store records. On a mail forwarding worksheet, W.

EDWARDS’s telephone number was listed as 505-307-6691. That number was known by this

investigation to be associated with W. EDWARDS in April 2022. That number was crossed out.

The telephone number 505-321-0126 was written next to the crossed-out number.

       16.     Open-source records indicate that the provider for telephone number 505-321-

0126 is Verizon Wireless. Records indicate that the telephone number is associated with M.S.,

an individual not previously identified by this investigation. The listed address for M.S. is

located on Hackamore Place, Albuquerque, NM. A relationship between M.S. and W.

EDWARDS has not been identified.

       17.     In March 2019, a federal arrest warrant for W. EDWARDS and federal search

warrant were executed at W. EDWARDS’ then-residence on Hackamore Place. W.

EDWARDS’ then-residence is located within half a mile of M.S.’s listed address.
          Case 1:23-mr-00592-BPB Document 1 Filed 03/15/23 Page 6 of 10




       18.     FBI obtained a cell-site warrant, a cell cite simulator warrant, and a pen register

trap and trace order on March 14, 2023 authorizing a search and the use of a cell-site simulator to

determine the location of the cellular device associated with telephone number 505-321-0126.

Using the information obtained from these warrants, FBI identified a person believed to be W.

EDWARDS, as described below.

       19.     On March 15, 2023 at approximately 4:53pm, FBI personnel who had previously

viewed photographs of W. EDWARDS observed an individual believed to be W. EDWARDS

exit the Subject Premises. The individual went to a truck parked in the driveway of the Subject

Premises and returned to the Subject Premises. At approximately 4:55pm, the individual exited

the Subject Premises, entered the truck and departed the residence. The individual then drove to

a nearby apartment complex. At approximately 5:05pm, the individual departed the nearby

apartment complex in the truck; the individual returned to the Subject Premises at approximately

5:12pm.

       20.     According to New Mexico vehicle registration records, the license plate observed

on the truck is registered to G.E., a known associate of W. EDWARDS. FBI personnel

previously interviewed G.E. and a representative of G.E.’s employer in 2022 concerning W.

EDWARDS’ whereabouts. According to G.E. and the representative of G.E.’s employer, G.E.

and W. EDWARDS were coworkers as of 2022.

       21.     The Bankruptcy Court filing first referenced in paragraph 7 of this Affidavit

includes a document entitled “Power of Attorney and Declaration of Representative.” Under a

section marked “Taxpayer name and address,” “Willie Lee Edwards Jr.” and “5705 Fairfax

Drive NW Albuquerque, New Mexico 87114” (i.e., the Subject Premises) are listed.
          Case 1:23-mr-00592-BPB Document 1 Filed 03/15/23 Page 7 of 10




       22.     The Subject Premises address also appears in the filing in a document titled

“Security Agreement” under a section marked “First witness signature.” The signature appears

to read “Tammy Edwards.” Tammy G. is an individual known to be associated with W.

EDWARDS. FBI believes that Tammy G. is the same person referred to as “Tammy Edwards”

in the Bankruptcy Court filing. The FBI knew Tammy G. to be a resident of the Subject

Premises as of 2022.

       23.     On the mail forwarding worksheet referenced in paragraph 15 of this Affidavit,

the forwarding address is listed as 5705 Fairfax Dr. NW, Albuquerque, NM 87114-4916 (i.e., the

Subject Premises).

       24.     Should W. EDWARDS not be at the Subject Premises when the warrant is served,

I request that agents be permitted to conduct a limited search of the premises for items that may

document, record or depict W. EDWARDS’ current whereabouts or evidence of his whereabouts

at the time of the trial scheduled for April 18, 2022. My training and experience indicate persons

often leave evidence of their daily schedules, activities, travel patterns, appointments, planned

outings, meetings, and social or business interactions in the normal course of living within their

premises. Furthermore, personal calendars, appointment books, telephone books, address books,

notes, notebooks, mail, photographs, phone messages, credit card receipts, statements, bank

receipts and statements, telephone statements, hotel or motel receipts, room keys, business cards,

travel itinerary, restaurant receipts, airplane tickets and/or other notations pertaining to the

defendant’s current location may aid agents in locating and arresting W. EDWARDS.

                                              CONCLUSION

       25.     Based on the aforementioned information, I submit that probable cause exists to

search the Subject Premises, further described in Attachment A, for W. EDWARDS or evidence
         Case 1:23-mr-00592-BPB Document 1 Filed 03/15/23 Page 8 of 10




of his current or past whereabouts, further identified and described in Attachment B; pursuant to

Rule 41of the Federal Rules of Criminal Procedure. This affidavit was reviewed and approved by

Assistant United States Attorney Taylor Hartstein on March 15, 2023.

                                                 Respectfully submitted,




                                                 Robert T. Balint
                                                 Special Agent
                                                 Federal Bureau of Investigation




Electronically submitted to me and telephonically sworn on March ___,
                                                                  15 2023.


_________________________________________
HONORABLE B. PAUL BRIONES
UNITED STATES MAGISTRATE JUDGE
         Case 1:23-mr-00592-BPB Document 1 Filed 03/15/23 Page 9 of 10




                                    ATTACHMENT A


                                 Property to Be Searched


5705 Fairfax Drive NW, Albuquerque, NM 87114, a one-story residence depicted in the image

below.


White and blue truck, NM license plate number BFBP35, depicted in the image below.
         Case 1:23-mr-00592-BPB Document 1 Filed 03/15/23 Page 10 of 10




                                        ATTACHMENT B


                                  Particular Things to be Seized


       -Willie Lee Edwards, Jr. (a “person to be arrested” under Fed. R. Crim. P. 41(c)(4)).


       -Personal calendars, appointment books, telephone books, address books, notes,

notebooks, mail, photographs, phone messages, credit card receipts, statements, bank receipts

and statements, telephone statements, hotel or motel receipts, room keys, business cards, travel

itinerary, restaurant receipts, airplane tickets and/or other notations pertaining to the W.

EDWARDS’ current location or his location on April 18, 2022.
